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April 6, 2022

VIA ECF
Hon. Lorna G. Schofield
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, New York 10007

        Re:     Free Holdings, Inc. v. McCoy, et al., Joint Initial Pre-Conference Letter

Dear Judge Schofield:

        We represent plaintiff Free Holdings, Inc. (“Free Holdings” or “Plaintiff”) in the
above-referenced action. We write concerning your Honor’s order, dated March 1, 2022, directing
the parties to submit a joint initial pre-conference letter addressing certain information and
attaching the parties’ Proposed Case Management Plan. See Exhibit 1.

        The parties have consented to conducting all further proceedings before Magistrate Judge
Cott. See id.; Exhibit 2. In light of the parties’ consent to have the case referred to Magistrate
Judge Cott, we request that the Court clarify whether it still requires the parties to file a joint letter
in response to the Court’s March 1, 2022 Order (see Dkt. No. 19).

       Please also note that Plaintiff intends to file an Amended Complaint by April 27, 2022.
The parties therefore respectfully request that Defendants’ time to respond to the Complaint be
adjourned pending that amendment, with the parties to confer thereafter about a schedule for
Defendants to respond. Plaintiff further requests that the Court vacate its April 1, 2022 Order (Dkt.
No. 35), directing Plaintiff to respond to Defendants’ joint pre-motion letter to dismiss.


                                                   Sincerely,

                                                   FALCON RAPPAPORT & BERKMAN PLLC

                                                   By: /s/Moish E. Peltz/

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